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                                   IN THE UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                            AMARILLO DIVISION

UNITED STATES OF AMERICA                                       §
                                                               §
            Plaintiff,                                         §
                                                               §
v.                                                             §     2:24-cr-00022-Z-BR (1)
                                                               §
NICKOLAS GARRET O’BRIEN (1)                                    §
                                                               §
            Defendant.                                         §

                                 ORDER SCHEDULING ARRAIGNMENT AND
                                  NOTICE OF WAIVER OF APPEARANCE

                Arraignment of Defendant 1, NICKOLAS GARRET O’BRIEN, in the above-referenced and

     numbered cause, will be held on Thursday, April 4, 2024, at 1:15 p.m. in the Mary Lou Robinson

     United States Courthouse, Second Floor Courtroom, Amarillo, Texas. If Defendant elects to waive

     the right to be present at arraignment, the attached Waiver of Appearance at Arraignment and

     Entry of Not Guilty Plea must be completed, signed, and returned to the Office of the Clerk for the

     United States District Court, 205 SE 5th Avenue, Room 133, Amarillo, TX 79101. See LCrR 49.6.

     If the waiver is timely filed, you and your client will not be required to appear at arraignment.

     Otherwise, you and your client must be present at the arraignment on the date and time stated

     above.

                IT IS SO ORDERED.

                ENTERED on March 28, 2024.



                                                             LEE ANN RENO
                                                             UNITED STATES MAGISTRATE JUDGE


     1
         See NDTX Special Order 3-251 regarding referral of hearings through arraignment to the Magistrate Judge.

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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                        AMARILLO DIVISION

UNITED STATES OF AMERICA                               §
                                                       §
      Plaintiff,                                       §
                                                       §
v.                                                     §    _________________-Z-BR
                                                       §
____________________________                           §
                                                       §
      Defendant.                                       §

                         WAIVER OF APPEARANCE AT ARRAIGNMENT AND
                                 ENTRY OF NOT GUILTY PLEA

             1.     Pursuant to Rule 10(b) of the Federal Rules of Criminal Procedure, a defendant

     need not be present for the arraignment if: (a) the defendant has been charged by indictment; (b)

     the defendant, in a written waiver signed by both the defendant and defense counsel, has waived

     appearance and has affirmed that the defendant received a copy of the indictment and that the plea

     is not guilty; and (c) the court accepts the waiver. FED. R. CRIM. P. 10(b).

             2.        On ______, undersigned counsel __________ (a) presented Defendant _______

     with a copy of the indictment, Criminal No. _________, (b) discussed all charges and counts in

     the indictment, (c) confirmed that Defendant _________ understands the charges, counts, and

     maximum penalties under law, (d) explained the purposes of arraignment and the right to be

     present for the arraignment, and (e) affirmed that Defendant _________ elects to waive the right

     to be present at arraignment and elects to enter a plea of “not guilty” to all charges and counts in

     the indictment.




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       3.     As evidenced by the signatures below, Defendant _______ hereby (a) AFFIRMS

that he received a copy of the indictment, Criminal No. __________, (b) WAIVES the right to be

present at arraignment, and (c) ENTERS a plea of “not guilty” to all charges and counts in the

indictment, Criminal No.             .



                                            Date:
[DEFENDANT’S NAME]
Defendant


                                            Date:
[NAME/TITLE/ADDRESS]
Attorney for Defendant


                            CERTIFICATE OF CONFERENCE

       I hereby certify that I conferred with Assistant United States Attorney _____ and thereby

confirmed that the government is unopposed to Defendant _________ waiving his right to be

present at arraignment and Defendant _______ entering a plea of “not guilty.”


                                                           ______________________________
                                                            [NAME/TITLE/ADDRESS]
                                                           Attorney for Defendant


                               CERTIFICATE OF SERVICE

       I hereby certify that on ________, I caused a copy of the foregoing document to be

delivered to the Clerk of Court, the United States Magistrate Judge ________ and Assistant United

States Attorney ______________.

                                                           ______________________________
                                                           [NAME/TITLE/ADDRESS]
                                                           Attorney for Defendant



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